                           Case 22-60043 Document                       Filed in TXSB on 05/02/22 Page 1 of 1

 Fill in this information to identify the case:

              Prison Planet TV, LLC
 Debtor name __________________________________________________________________

                                        Southern
 United States Bankruptcy Court for the:______________________ District of    Texas
                                                                              _______
                                                                             (State)
 Case number (If known):     22-60022
                            _________________________                        11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       Plan Support Agreement
                                          ____________________________________            Free Speech Systems, LLC, c/o Ray Battaglia, 66 Granburg
                                                                                          _________________________________________________________
 2.1     lease is for and the nature                                                     Cir, San Antonio, TX 78218
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        Ongoing
                                         ____________________________________             Alexander Jones, c/o Shelby Jordan, 500 North Shoreline
                                                                                          _________________________________________________________
         List the contract number of
                                         ____________________________________            Blvd, STE 900, Corpus Christi, TX 78401
                                                                                         _________________________________________________________
         any government contract


         State what the contract or       ____________________________________            _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
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